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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                                       Case No. 13-20654-2
             Plaintiff,
                                                       Judge Robert H. Cleland
v.

ROBERT KRONNER



           Defendant .
___________________________________/

               ORDER SETTING SENTENCING AND DEADLINE DATES
                   AND IMPOSING OTHER RESPONSIBILITIES

      The Defendant having been convicted and referred to the Probation Department for

the preparation of a Presentence Report (PSR), IT IS ORDERED as follows:

1)    Sentence will be imposed on AUGUST 21, 2014 at 2:00 PM. If a custodial

      sentence is imposed, the defendant must be prepared to submit to custody on the

      day of sentencing.

2)    On or before JULY 3, 2014, the PSR must be submitted to counsel by the Probation

      Officer for review and possible objections.

3)    On or before JULY 17, 2014, any PSR objection must be stated to the Probation

      Officer (but cannot be filed on the docket). In stating an objection, counsel must use

      a format substantially similar to the attached Addendum. A purported PSR

      objection originating in a letter, an e-mail, a “sentencing memorandum,” etc., will be

      rejected by the Probation Officer and returned to the party who provided it.

4)    On or before JULY 31, 2014, the proposed final form of the PSR must be delivered

      to the court by the Probation Department.
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5)    Not later than AUGUST 7, 2014, any request by either party for a departure or

      variance from the Guidelines range must be presented in the form of a motion with

      a supporting brief.

6)    Not later than SEVEN DAYS before sentencing, any opposition to the other party’s

      motion for departure or variance motion must be filed.

7)    A Sentencing Memorandum is optional,1 but due SEVEN DAYS before

      sentencing.

8)    Counsel must provide a copy of any motion, opposition to a motion, and

      memorandum to the Probation Officer.

9)    Allocution at sentencing will ordinarily not exceed ten minutes for Defendant’s

      counsel, ten minutes for Defendant and ten minutes for government counsel.


                                 s/Robert H. Cleland
                                 Robert H. Cleland
                                 United States District Judge

Dated: April 21, 2014

I hereby certify that a copy of the foregoing document was served upon counsel of record
on April 21, 2014, by electronic and/or ordinary mail.

                                 s/Lisa Wagner
                                 Case Manager




      1
       A sentencing memorandum is often superfluous in light of a motion for variance,
and more important in the absence of such a motion. Memoranda are ordinarily
reviewed by the court in the few days leading to sentencing. Do not use a sentencing
memorandum as a substitute for a motion for a USSG departure or 18 USC
§3553(a)(2) variance in sentence.
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                                    SAMPLE
                          PRESENTENCE REPORT ADDENDUM

Defendant’s name:                                   Page #:
Docket #:                                           Paragraph #:
Date:                                               Line(s) #:
Objection #:

Section I: Defendant’s/Government’s objection:




_____________________________                        _________________________________
Attorney’s signature                                 I affirm the truth of every factual statement above.
                                                     Defendant’s signature

Section II: Probation officer’s comments:




                                    Instructions for counsel
                (Do not replicate instructions on the Addendum to be submitted)

1)    Provide all objections directly to the Probation Officer, and do not file them on the docket.

2)    Any objection or claim that a guideline or application note has been incorrectly applied or
      omitted must be accompanied by a clear explanation. Saying only that “the defendant
      disputes” a fact without providing an alternate explanation or reference to specific evidence
      is generally unavailing.

3)    Do not use the Addendum format or the formal “objection” process to merely
      •      point out a minor factual error, i.e., those that have no effect on guideline
             calculations nor forms the basis for a departure. Such claims may be presented to
             the Probation Officer by letter or memorandum.
      •      argue a mechanical result or an alternate guideline calculation that depends on the
             resolution of a challenged factual item.
      •      react to required PSR comments such as factors for possible departure. Such
             matters may be presented to the court in the form of a sentencing memorandum.

4)    When a party has presented a material objection that has not been accepted by the
      Probation Officer and remains for resolution by the court, any opposition must expressed in
      writing whether or not the court specifically orders a response. Always provide a copy to the
      Probation Officer. Responses should correspond to the numbering of the objection(s) and
      clearly explain the party’s position in reaction to the objection.
